 Case 1:08-cr-00105-PLM           ECF No. 20, PageID.33              Filed 05/07/08   Page 1 of 2




                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                  Case No. 1:08-cr-105
                                    )
v.                                  )                  Honorable Paul L. Maloney
                                    )
JUAN SANCHEZ-GARCIA,                )
                                    )
                  Defendant.        )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on May 7, 2008, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Juan Sanchez-Garcia entered a plea of guilty to count 2 of the Indictment

charging him with illegal reentry into the United States after having been deported, in violation of

8 U.S.C. § 1326(a). On the basis of the record made at the hearing, I find that defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.

               I therefore recommend that defendant's plea of guilty to count 2 of the Indictment be

accepted and that the court adjudicate defendant guilty of the charge. Acceptance of the plea,

adjudication of guilt, and imposition of sentence are specifically reserved for the district judge.
 Case 1:08-cr-00105-PLM             ECF No. 20, PageID.34         Filed 05/07/08      Page 2 of 2




                  The Clerk is directed to procure a transcript of the plea hearing for review by the

District Judge.



Dated: May 7, 2008                              /s/ Joseph G. Scoville
                                                U.S. Magistrate Judge



                                       NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140 (1985);
Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030 (1997); United States
v. Walters, 638 F.2d 947 (6th Cir. 1981).
